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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,          )
                                   )                  Criminal Number: 1:23-cr-343
            v.                     )
                                   )
CHARLES EDWARD LITTLEJOHN, )
                                   )
            Defendant.             )
___________________________________)

                    GOVERNMENT’S RESPONSE TO DEFENDANT’S
                     NOTICE OF SUPPLEMENTAL AUTHORITY

       The United States respectfully submits this response to Defendant’s notice of supplemental

authority concerning a recent set of sentences in this district arising from an investigation into the

theft of certain proprietary government software and databases. See United States v. Charles

Edwards and Murali Venkata, No. 20-CR-66-RDM (D.D.C.); United States v. Sonal Patel, No.

19-CR-81-RDM (D.D.C.). Defendant Charles Littlejohn’s leak to national media outlets of

thousands of individuals’ tax returns to further his own political and policy agenda bears little

resemblance to the theft of proprietary government software incidentally involving employees’

personally identifiable information at issue in the Edwards, Patel, and Venkata cases, and the Court

should not rely on those cases in fashioning an appropriate sentence for Defendant.

       Edwards, Patel, and Venkata engaged in a scheme to steal proprietary government software

and databases containing sensitive law enforcement information and the personally identifying

information of federal employees. Edwards, who had previously served as the Acting Inspector

General of the Department of Homeland Security’s Office of Inspector General (“DHS-OIG”),

sought to develop software that he could market to Offices of Inspector General across the federal

government for profit. Because—having left government—he no longer had access to DHS-OIG’s
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systems and because he lacked technical expertise, he enlisted the assistance of Patel (a supervisor

in the Information Technology office at DHS-OIG) and Venkata (an Information Technology

employee whom Patel supervised) to copy certain proprietary software and databases held by

DHS-OIG to help formulate his new product. The stolen databases included personally identifiable

information (“PII”) associated with over 200,000 federal employees. Edwards hired software

developers in India to build his commercial software product and granted them access to the stolen

DHS-OIG software and databases so that they could use it as a model.

       Edwards pleaded guilty to conspiracy to commit theft of government property and to

defraud the United States (18 U.S.C. § 371) and to theft of government property (18 U.S.C. § 641).

Patel pleaded guilty to a single count of conspiracy to commit theft of government property (18

U.S.C. § 371). Both Edwards and Patel testified against Venkata—the lowest ranking member of

the conspiracy—at a trial during which Venkata was convicted of conspiracy to commit theft of

government property and to defraud the United States (18 U.S.C. § 371); theft of government

property (18 U.S.C. § 641); wire fraud (18 U.S.C. § 1343); and destruction of records (18 U.S.C.

§ 1519). On January 26, 2024, Judge Randolph D. Moss sentenced Edwards to one year and six

months in prison followed by two years of supervised release; Patel to two years of probation with

the first year as home incarceration and a $40,000 fine; and Venkata to four months in prison

followed by two years of supervised release, with the first eight months as home incarceration.

       Littlejohn’s criminal activity bears almost no resemblance to the crimes committed in the

DHS-OIG matter. First, Littlejohn stole thousands of individuals’ tax returns and tax information

for the purpose of publicizing that information in service of his own political agenda. He fully

understood, indeed intended, that his disclosures would damage his victims’ reputations and hoped

that such reputational damage would affect our nation’s political process. By contrast, although


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Edwards, Patel, and Venkata granted the Indian developers access to the stolen databases

containing PII, the actual identities of the individuals whose PII was provided were irrelevant: the

defendants did not intend for those individuals to be unmasked or for their information to be

publicized or further disseminated and there was no evidence that it in fact was. Their use of PII,

although reckless, was ancillary to their scheme to develop a commercial software product and

market it to government agencies. In fact, the government ultimately voluntarily dismissed an

aggravated identity theft charge in the Venkata case in light of Dubin v. United States, 599 U.S.

110 (2023) (holding that the aggravated identity theft statute, 18 U.S.C. § 1028A(a)(1), “is violated

when the defendant’s misuse of another person’s means of identification is at the crux of what

makes the underlying offense criminal, rather than merely an ancillary feature of a billing

method”). Second, as Littlejohn surely foresaw, his disclosures caused immense shame and

embarrassment to, as well as risked potential physical violence for, his victims, some of whom

have received threats. In the DHS-OIG case, although the conspirators exposed numerous

individuals to a risk of harm such as identity theft, there was no evidence that any of the victims

suffered an analogous degree of actual harm. Finally, Littlejohn—unlike Edwards or Patel—did

not cooperate with the government by testifying against any co-conspirators or obtain a downward

departure pursuant to U.S. Sentencing Guideline § 5K1.1; and unlike Patel or Venkata, Littlejohn

was the engineer of his disclosure scheme.




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       For the foregoing reasons, the United States submits that the Edwards, Patel, and Venkata

sentences should have no bearing on the Court’s sentence in this matter.

                                                   Respectfully submitted,

Dated: January 28, 2024                            COREY R. AMUNDSON
                                                   Chief, Public Integrity Section
                                                   Criminal Division
                                                   U.S. Department of Justice



                                                   BY:
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 28 th day of January 2024, I caused the foregoing to be

electronically filed with the Clerk of the Court using the CM/ECF System, which will then send a

notification of such filing to all attorneys of record.



                                                      /s/ Jonathan E. Jacobson
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